       Case 3:22-cr-00102-SHL-SBJ Document 75 Filed 01/26/24 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                          )        Case No. 3:22-cr-102
                                                   )
               v.                                  )        SENTENCING MEMORANDUM
                                                   )
BENJI CLARK ENGESSER, JR.,                         )
                                                   )
               Defendant.                          )

       The government, by and through the undersigned Assistant United States

Attorney, files this sentencing memorandum in anticipation of the sentencing

hearing currently set for February 1, 2024, at 11:00 a.m.

                                     TABLE OF CONTENTS

I.     BACKGROUND .......................................................................................1

II.    SENTENCING CALCULATION ...........................................................2

III.   GOVERNMENT’S RECOMMENDATION…………………….………… 3


I.     BACKGROUND

       On November 9, 2022, a two-count Indictment was filed charging Benji Clark

Engesser, Jr. (Defendant) with Distribution and Receipt of Child Pornography, on or

between March 12, 2022, and July 27, 2022 (Count One), in violation of 18 U.S.C. §§

2252(a)(2) and 2252(b)(1); and Possession of Child Pornography, on or about August

4, 2022 (Count Two), in violation of 18 U.S.C. § 2252(a)(4)(B) and 2252(b)(2). A Notice

of Forfeiture was also filed, pursuant to 18 U.S.C. § 2253. (Final Presentence

Investigation Report, hereinafter “PSR,” ECF 74, ¶ 1-2.)



                                                       1
      Case 3:22-cr-00102-SHL-SBJ Document 75 Filed 01/26/24 Page 2 of 4




      On October 17, 2023, Defendant pled guilty to Count One of the two-count

Indictment. On October 31, 2023, the Court accepted Defendant’s plea and

adjudicated him guilty. (PSR, ECF 74, ¶ 3.)

      Defendant initially had objections to the PSR, however, after an objection

meeting, those were resolved. The PSR was then amended and added a cross-

reference to which Defendant indicates there will be no objection. Therefore, there

are no contested sentencing issues to be resolved by the Court.

II.   SENTENCING CALCULATION

      In the presentence report paragraphs 30-44 and 109, Defendant’s guideline

range was calculated as follows:

      Base Offense Level
      USSG §2G2.1(a)                                32

      Minor Between 12 and 16
      USSG §2G2.1(b)(1)(B)                          +2

      Commission of a Sexual Act/Contact
      USSG §2G2.1(b)(2)(A)                          +2

      Knowing Engaging in Distribution
      USSG §2G2.1(b)(3)                             +2

      Use of a Computer
      USSG §2G2.1(b)(6)(B)(ii)                      +2

      Acceptance of Responsibility
      USSG §3E1.1(a), (b)                           -3

      Total Offense Level                           37

      Criminal History Category                     I

                                          2
       Case 3:22-cr-00102-SHL-SBJ Document 75 Filed 01/26/24 Page 3 of 4




       Guideline Sentencing Range:                    210 to 240 Months

III.   GOVERNMENT’S RECOMMENDATION

       The sentencing statutes inform this Court that it must impose a sentence

sufficient, but not greater than necessary, to reflect the seriousness of the offense, to

promote respect for the law, and to provide just punishment for the offense; to afford

adequate deterrence to criminal conduct; to protect the public from further crimes of

the defendant; and to provide Defendant with needed educational or vocational

training, medical care, or other correctional treatment in the most effective manner.

18 U.S.C. § 3553(a)(2). The Court, in determining the particular sentence to be

imposed, shall also consider the nature and circumstances of the offense and the

history and characteristics of Defendant. 18 U.S.C. § 3553(a)(1). The sentence must

“avoid unwarranted sentence disparities among defendants with similar records who

have been found guilty of similar conduct.” 18 U.S.C. § 3553(a)(6).

       The government will ask the District Court to find a final advisory guideline

range of Level 37/Criminal History category I – 210 to 240 months. Per the plea

agreement, we will be asking for the low end of the advisory guideline range.

However, the government acknowledges that there are certainly mitigating factors

in this case that may warrant a downward variance.

       This is a case where Defendant sought out a victim on Snapchat, found this

victim and began conversing with her. Within a short period of time, Defendant began

asking for nude pictures of her and meeting her in person to have sexual contact. The

victim was 13 years old, and Defendant was 23 years old. The letters provided by the

                                           3
      Case 3:22-cr-00102-SHL-SBJ Document 75 Filed 01/26/24 Page 4 of 4




victim and her family members lay out the harm that was caused to the victim and

her family based on the actions of Defendant.

      WHEREFORE, the government prays the District Court consider this

sentencing memorandum in determining the final sentence of Defendant.

                                                Respectfully submitted,

                                                Richard D. Westphal
                                                United States Attorney

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CERTIFICATE OF SERVICE

I hereby certify that on Friday, January 26, 2024, I electronically filed the
foregoing with the Clerk of Court using the CM ECF system. I hereby
certify that a copy of this document was served on the parties or attorneys
of record by: X ECF/Electronic filing

UNITED STATES ATTORNEY

By: /s/ Jeremy Smock
    Paralegal Specialist




                                           4
